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                       ATTORNEY SIGN-IN SHEET

                                   Judge Roy S. Payne
               2:20-CV-0280-JRG (Referred to RSP for Markm n only)
                   KAIFI LLC v. Verizon Communications, Inc., et al.
                                  June 3, 2021 9:00 am


                              PLEASE PRINT CLEARLY

          ATTORNEY NAME                                     REPRESENTING
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